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    Exhibit 5:
Aleman Declaration
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                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

            JOSE ALFREDO AMAYA, et al.,                       *

                      Plaintiffs,                             *      Civil Action No. 1:24-cv-00031-SAG

                      v.                                      *

            INFINITE HOMES GROUP 646/500                      *
            LLC, et al.,
                                                              *
                      Defendants.
                                                              *

                                          DECLARATION OF MOISES ALEMAN

                      I, Moises Aleman, am over 18 years of age and am competent to testify. I declare as

            follows:

                 1. I was employed to do rehabilitation and repair work between March 2022 and May 2022

            on houses in Baltimore owned by Shay Mokai. I worked on properties at approximately six of

            the addresses in paragraph 31 of the amended complaint in this case.

                 2. The work I did on these properties included framing work, window replacements, and

            siding.

                 3. Alfredo Sandoval, whose company was Greilyn Construction LLC, was a subcontractor

            Mokai hired to help with the work.

                 4. When I started working on these properties, Sandoval told me what time to work, where

            to work, and what to do on each property.

                 5. I saw and heard Sandoval receive his orders from Mokai, who owned the properties and

            told Sandoval what work I and the other workers should do on them.
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                 6. I saw Mokai nearly every day at the properties where I was working. He both supervised

            our work directly by telling us what to do and how to do it, and indirectly by giving Sandoval

            work instructions to pass along to me and other workers.

                 7. I generally worked Monday through Friday, from about 7:45 a.m. or 8:00 a.m. until about

            5:00 p.m.

                 8. I worked on these properties with four or five other construction workers, including Luis

            Miranda and Jose Amaya.

                 9. My pay came from Mokai through Sandoval and his company.

                 10. I never received an overtime rate for the hours that I worked over 40 in a workweek,

            which was most if not all weeks.

                 11. I was promised $200 a day (or $1,000 a week) for my work, regardless of how many

            hours I worked per day or week.

                 12. Other workers who I talked with told me they were also promised $200 for each day that

            they worked on these properties. Like me, this was their pay regardless of how many hours they

            worked.

                 13. Attached to this declaration is a picture of a check I got from Sandoval’s company for my

            work on Mokai’s properties. The $1,000 check is for five days of work at $200 per day.

                 14. There are no employment taxes taken out of that check. This is how all my payments

            were, whether they were from Sandoval, his company, or someone from his company—none had

            any taxes taken out.

                 15. From conversations with my coworkers, I know that all the workers all paid this way—

            our employers didn’t take taxes out of anyone’s pay.




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                 16. I never got any kind of written notice from any of my employers saying that I was an

            independent contractor or explaining what the implications of that were. I never saw any of my

            coworkers get any written notice like that, either.

                 17. I know there were other people working on Mokai’s properties before I started there,

            because I heard from the other workers about the work they had done before I joined the job.

                 18. The other workers who worked on these properties with me worked similar hours as me,

            which I know because I saw them get to the properties in the morning and leave at the end of the

            workday. But they didn’t get overtime pay, either.

                 19. I regularly use Facebook to find news. From what I’ve seen, the majority of the Latino

            community in Baltimore uses Facebook. I have seen lots of job ads on Facebook for

            construction work. I think Facebook would be a useful way to advise other workers who worked

            on Mokai’s properties about this case.



                     I declare under penalty of perjury that the foregoing is true and correct.

              5/28/2024
            ____________                                     ___________________________________
            Date                                             Moises Aleman




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                                         Attachment
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                            CERTIFICATE OF TRANSLATION

       I, Lee Woo Kee, herby certify that I am fluent in Spanish and English. I translated the
foregoing document and read it back to Moises Aleman in its entirety in Spanish before he
signed it.


_________________________________________                  Date: 5/28/24
Lee Woo Kee
Public Justice Center
201 N. Charles St., Suite 1200
Baltimore, MD 21201
